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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

BEVERLY R., on behalf of her minor           *      NO. 2:20-cv-02924
child, E.R.                                  *
                                             *      SECTION “E” (3)
v.                                           *
                                             *      JUDGE SUSIE MORGAN
MT. CARMEL ACADEMY OF NEW                    *
ORLEANS, INC.                                *      MAGISTRATE JUDGE DOUGLAS

                          JOINT STIPULATION OF DISMISSAL

       NOW INTO COURT, through undersigned counsel, come Plaintiff, Beverly R., on

behalf of her minor child, E.R., and Defendant, Mount Carmel Academy of New Orleans, Inc.,

which, pursuant to Fed. R. Civ. Proc. 41(a)(1), and upon suggesting that Plaintiff’s Motion for

Authority to Compromise Minor’s Claim [Rec. Doc. 31] is now moot because Plaintiff sought

and obtained such authority in state court, jointly stipulate that all claims and demands asserted

by Plaintiff, Beverly R., on behalf of her minor child, E.R., against Defendant, Mount Carmel

Academy of New Orleans, Inc., be and hereby are dismissed with prejudice, each party to bear

their own costs.


                                             Respectfully submitted,


                                             /s/ Chris Edmunds
                                             Chris Edmunds (La. Bar #37670)
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                                             Metairie, LA 70001
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                                             Attorneys for Plaintiff,
                                             Beverly R., on behalf of her minor child, E.R.
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                               - and -

                             ADAMS AND REESE LLP


                             /s/ A. Kirk Gasperecz
                             A. Kirk Gasperecz (La. Bar #17583)
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                             Attorneys for Defendant,
                             Mount Carmel Academy of New Orleans, Inc.




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